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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO
EASTERN DIVISION

IN RE: NATIONAL PRESCRIPTION MDL NO. 2804
OPIATE LITIGATION
Case No. 17-MD-2804
THIS DOCUMENT RELATES TO:
Judge Dan Aaron Polster
City of Rochester v. Purdue Pharma, L.P.,
No. 19-op-45853 (Track 12)

Lincoln County v. Richard S. Sackler, M.D.,
No. 20-op-45069 (Track 13)

City of Independence, Missouri v. Williams,
No. 19-op-45371 (Track 14)

County of Webb, Texas v. Purdue Pharma,
L.P., No. 18-op-45175 (Track 15)

DECLARATION OF MICHELLE S. GRANT IN SUPPORT OF
OPTUMRX, INC.’S MOTION TO DISQUALIFY MOTLEY RICE

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DECLARATION OF MICHELLE S. GRANT

I, Michelle S. Grant, declare as follows:

1. IL am over eighteen years old, of sound mind, and under no legal disability.

2. I am a Partner at Dorsey & Whitney LLP, and I represented OptumRx, Inc. in
responding to an investigative subpoena that the City of Chicago served on OptumRx.

3. I submit this declaration in support of OptumRx’s Motion to Disqualify Motley
Rice.

4, I have personal knowledge of the facts set forth in this declaration, and if called to

testify in person about those facts, could competently do so under oath.

5. On November 8, 2018, the City of Chicago issued an investigative subpoena to
OptumRx.
6. On behalf of OptumRx, I negotiated a confidentiality agreement and the subpoena’s

document requests with Paige Boggs of Motley Rice LLC as well as in-house counsel for the City
of Chicago. The confidentiality agreement is executed by Mimi Liu of Motley Rice LLC.

Ts In response to the City of Chicago’s subpoena, OptumRx produced confidential
material, including prescription drug transaction data.

8. That prescription drug transaction data that was produced is not available to the

public and is among OptumRx’s sensitive commercial material.

I declare under penalty of perjury under the laws of the United States that the foregoing is true and

correct.

Dated: December 14, 2023. Wy loko

Michelle S. Grant

